                  2:24-cr-00609-MHC                   Date Filed 08/05/24               Entry Number 3             Page 1 of 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                        District of
                                                     __________     South of
                                                                  District Carolina
                                                                             __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.   2:24-cr-00609
  PROPERTY AS PARTICULARLY DESCRIBED IN                                      )
ATTACHMENT A TO THE AFFIDAVIT OF TFO JACOB                                   )
       SMETANA DATED JULY 29, 2024
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the              Judicial              District of              South Carolina               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. 545                             Smuggling Goods into the United States
        18 U.S.C. 922(a)(1)(A)                    Unlawful Acts, Importation of a Firearm

          The application is based on these facts:
        See attached affidavit

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                              JACOB J SMETANA Digitally signed by JACOB J SMETANA
                                                                                              Date: 2024.07.29 06:01:48 -04'00'
                                                                                                       Applicant’s signature

                                                                                            Jacob Smetana, Task Force Officer, HSI
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                  cellular telephone                  (specify reliable electronic means).


Date:           July 29, 2024
                                                                                                         Judge’s signature

City and state: Charleston, SC                                                                Molly Cherry, U.S. Magistrate Judge
                                                                                                       Printed name and title
